Case 2:19-cr-00001-JRG-RSP Document 38 Filed 08/16/19 Page 1 of 3 PageID #: 177



                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION

 UNITED STATES OF AMERICA §
                                               § NO. 2.19-CR-01
 v. § Judges JRG/RSP
                                               §
 MARK MCLEAN FARMER §

                                     INFORMATION
 THE UNITED STATES ATTORNEY CHA GES:

                                          Count One

                                                   Violation: 21 U.S.C. § 846
                                                   (Conspiracy to Possess with the Intent to
                                                   Distribute and Distribution of Anabolic
                                                   Steroids)

       Beginning in or about August 2018, the exact date being unknown to the United

 States Grand Jury and continuing until at least November 2018, in the Eastern District of

 Texas, the defendant, Mark McLean Farmer, did intentionally and unlawfully,

 combine, conspire, confederate, and agree with others, to violate a law of the United

 States of America, to wit, 21 U.S.C. § 841(a)(1), prohibiting the possession with intent to

 distribute and distribution of anabolic steroids, a Schedule E controlled substance.

       In violation of 21 U.S.C. § 846.




 Information - Page 1
Case 2:19-cr-00001-JRG-RSP Document 38 Filed 08/16/19 Page 2 of 3 PageID #: 178



                                        Count Two


                                                  Violation: 18 U.S.C. § 924 (c) (Use,
                                                  Carrying, and Possession of a Firearm
                                                  During and in Furtherance of a Drug
                                                  Trafficking Crime)


        On or about October 30, 2018, in the Eastern District of Texas, the defendant,

 Mark McLean Farmer, did knowingly use and carry one or more firearms during and in

 relation to, and did kno ingly possess the firearms in furtherance of, a drug trafficking

 crime for which he may be prosecuted in a court of the United States, namely, possession

 with intent to distribute anabolic steroids, as prohibited under 21 U.S.C. § 841(a)(1) and

 charged in Count Two of this indictment. The firearms was a Heckler and Koch USP9

 Compact 9 Caliber Pistol.

        In violation of 18 U.S.C. § 924 (c).

                                           JOSEPH D. BROWN
                                           UNITED STATES ATTORNEY

                                           /s/ Colleen Bloss
                                           COLLEEN BLOSS
                                           Assistant United States Atto ey
                                           Texas Bar Number 24082160
                                           110 N. College Avenue, Suite 700
                                           Tyler, Texas 75702
                                           (903) 590-1400
                                           Colleen.Bloss@usdoi. gov

                                           ATTORNEY FOR THE UNITED STATES




 Information - Page 2
Case 2:19-cr-00001-JRG-RSP Document 38 Filed 08/16/19 Page 3 of 3 PageID #: 179



                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             MARSHALL DIVISION

 UNITED STATES OF AMERICA §
                                         § NO. 2:19-CR-01
 V.                                      § Judges JRG/RSP
                                         §
 MARK MCLEAN FARMER                      §
                             NOTICE OF PENALTY

                                   Count One

       Violation:             21 U.S.C. § 846

       Penalty:               Not more than 10 years imprisonment, a fine not to
                              exceed $250,000, or both, and a term of supervised
                              release not to exceed 3 years.


       Special Assessment:    $100.00


                                   Count Two

       Violation:              18 U.S.C. § 924 (c)

       Penalty:               Imprisonment of not less than 5 years, or more than
                              life, which must be served consecutively to any other
                              term of imprisonment; a fine not to exceed
                              $250,000.00, or both; and a term of supervised release
                              not to exceed five years.



       Special Assessment:    $100.00




 Information - Page 3
